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          IN THE CIRCUIT COURT OF DALLAS COUNTY, ARKANSAS
                           CIVIL DIVISION

SHELBY BUFFINGTON, as
parent and next friend of T.B.,
a minor                                                             PLAINTIFF

vs.                                                    i.-5_____
                                  CASE NO. CV-2022-......

HABILITATION CENTER, LLC,
a foreign Limited Liability Company,
 d/b/a MilICreek of Arkansas afk/a
MilICreek Behavioral Health, ACADIA
HEALTHCARE COMPANY, INC, a
foreign Corporation                                                    DEFENDANTS

                                       COMPLAINT


      Comes now the Plaintiff, SHELBY BUFFINGTON, as parent and next friend of

T.B., a minor, and for her cause of action against the Defendants, Habilitation Center,

LLC, a foreign Limited Liability Company, Acadia Healthcare Company, Inc., a foreign

Corporation states:

   1. The Defendant, Habilitation Center, LLC, is a foreign Limited Liability Company

      that does business in Fordyce, Arkansas under the name Millcreek of Arkansas

      hereafter "MillCreek". Its principal place of business is located at 1810 Industrial

       Drive, Fordyce, Arkansas 71742. It provides medical and psychiatric services at

      such location. Its agent of service is The Corporation Company. If such Defendant

       claims entitlement to charitable immunity, it is requested to provide the name,

       address, and insurance policy number or bond number of all insurance policies

       and bonds that do or may provide coverage for the damages sought herein.




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2. Defendant Acadia HealthCare Company, Inc. (hereafter" Acadia") is a Delaware

   Company that holds itself out to operate a network of at least 587 behavioral

   healthcare facilities in 39 States. MillCreek is facility that is operated and by

   Acadia HealthCare Company, Inc.

3. Shelby Buffington, is an adult, over the age of 21 years, and is the biological mother

   and next friend of T.B. who is a 12-year-old minor at the present time. The full

   name of T.B. will be disclosed pursuant to a seal or protective order issued by this

   Court. However, the Defendants, and each of them, are well aware of the name of

   T.B.

4. Venue lies properly herein because the acts and omissions complained of herein

   occurred, at least for the most part in Dallas County, Arkansas. Defendant

   MillCreek provides mental health services, operates as a psychiatric hospital and

   a facility to treat children whose behavior in public is potentially harmful, violent,

   and inappropriate to themselves and others, and such Defendant holds themselves

   out to protect and care for the children in their care. Upon admission, T.B. was

   given a document titled "Patient Rights: The patient/ resident and/ or their legal

   guardian have the following rights: Personal Safety: To expect reasonable safety

   in so far as they hospital practices and environment are concerned, including the

   rights to be free from all forms of abuse or harassment." They failed T.B. in that

   respect in he was improperly supervised and cared for allowing a presumably

   older patient to sexually manipulate T.B. in to performing sex acts for the purpose

   of the older patient's sexual gratification.



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5. Defendant Acadia, upon information and belief, owns/holds/ operates and/ or

   otherwise directs care in a multitude of inpatient treatment facilities that are

   designed to provide a safe and stable environment for those in need of immediate

   psychological treatment, among other types of treatment. MillCreek is an Acadia

   owned facility.

6. T.B. was admitted to the cared of Millcreek on Ocotber 10, 2020 and the facility

   was made aware of T.B.'s prior behavioral issues as well of a prior sexual assault

   committed against T.B. Defendant's intake paperwork indicates and documents

   that T.B. was a previous victim of a sexual assault.

7. On December 2, 2020 the Defendants and all of them placed T.B. on "unit

   restriction" for "talking inappropriate sexual behaviors."       No report to the

   therapist or doctor was made regarding this behavior.

8. On or about December 05, 2020, while on "close observation" classification,

   Defendant was placed on "unit restriction" by one or several of the Defendants

   once again. Again, no therapist or doctor was notified.

9. On or about December 6, 2020, while remaining on close observation" and "unit
                                                          II




   restriction" another patient/ peer at MillCreek reported to a staff member that they

   had seen T.B. and another patient pulling up their pants. It appears no action was

   taken as a result of this as the records provided contain no report, investigation or

   conveyance of this conduct and information to a therapist or doctor.




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10. The Defendants apparently did no investigation into the matter, rather, they

   punished T.B. by restricting his privileges and placing him again on "unit

   restrictions."

11. The following day, December 7, 2020 T.B. and a peer reported that the incident of

   December 6, 2020 more fully stating: the peer manipulated T.B. in to performing

   oral sex upon the peer in exchange for a hot wheels car.

12. The medical records thus far received do not set out that any investigation was

   done into the behaviors as a result of the December 6, 2020 actions.

13. MillCreek owes a duty to the public, and to their patients, to ensure that those

   patients in such facility who actually cause sexual abuse or harm to others who are

   minors are: (i) reported to the Child Abuse Hotline, as required by law; (ii) treated

   and medicated so that they do not pose a risk to others in a public place such as

   occurred on December 6, 2020.; (iii) not left unsupervised to commit such heinous

   and violent actions; (iv) warned by providing a warning or other information to

   Habilitation supervisors so that appropriate action can be taken to protect its

   patients; (v) separate from the persons upon whom they are offending or are likely

   to offend.

14. Defendant Acadia knew, by virtue of previous sexual assaults and attacks taking

   place at MillCreek but also their 587 facilities that these types of assaults are likely

   to occur, yet they continue to be less than diligent in their protecting of their

   patients.




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15. Defendant MillCreek's records are absent of any evidence that the sexual assault

   was ever discussed in therapy or ever investigated by any medical professional.

16. T.B.'s behaviors became noticeably and progressively worse after the sexual

   assault.

17. Upon notice of the allegations set out herein by the Plaintiff, the Defendants

   immediately discharged T.B. More specifically, within 24 hours of receipt of a

   letter asking for medical records and asking MillCreek, Acadia, and all other

   Defendants to preserve their records as the result of this sexual assault, T.B. was

   discharged from the facility.

                            COUNT ONE
                NEGLIENCE- HABILITATION CENTER, LLC.

18. Plaintiff repeats the allegations set forth in paragraphs 1-17, above, as if the same

   were set forth word for word herein.

19. Defendant, Habilitation Center, LLC., was negligent in housing children with

   whom they should have known had a propensity to commit assaults on other

   children in the same area, and specifically , the same bedroom.

20. Defendant Habilitation Center, LLC., was negligent in having adolescents in the

   same room within the facility without adequate security measures in place.

21. Defendant Habilitation Center, LLC., was negligent in hiring, training, and

   supervising its workers. Specifically, it failed to adequately instruct its workers

   on how to supervise the residents of the facility to ensure no harm would occur to

   the other residents of the facility.




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22. Defendant Habilitation Center, LLC was further negligent in not having enough

   staff to adequately supervise the residents in the facility.

23. Defendant Habilitation Center, LLC was further negligent for breaches of duties

   set forth in paragraphs 1-18, above.

24. Defendant Habilitation Center, LLC failed to have a proper security plan in place

   to protect T.B. from the acts set out in paragraphs 1-18 hereinabove.

25. Defendant Habilitation Center, LLC was negligent in failing to immediately

   investigate the allegations that were made aware to them on December 6, 2020.

26. Defendant Habilitation Center, LLC was negligent in their failure to disclose the

   sexual assault to their in house therapist and to further explore the sexual assault

   committed upon T.B. in therapy sessions.

27. That Defendant Habilitation Center, LLC was otherwise negligent which will be

   proven at trial.

28. As the approximate and actual result of the negligence of Habilitation Center,

   LLC., the Plaintiffs, Shelby Buffington, are entitled to recover on behalf of T.B.

   damages for past and future emotional harm, past and future pain and suffering,

   and other damages in a sum in excess of Seventy-five Thousand Dollars excluding

   interests and costs.


MEDCAL RECORDS OF BAD ACTOR AND ANY AND ALL INVESTIGATIVE

                           REPORTS AND FINDINGS


29. The medical records of the peer who "manipulated" T.B. and his physical and

   emotional disorders are at issue herein and the Court should declare that his


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      medical records and physical and mental condition are an issue and Defendant

      Habilitation Center, LLC should be ordered and directed that the mental condition

      of said peer is in issue and the doctor (or hospital should be ordered to submit all

      of said peer's records for in camera review allowing the Court to determine any

      documents relevant to Plaintiff's allegations.

   30. The Plaintiffs are in possession of a condensed version of T.B.'s medical records

      but request that this Court order a full and immediate copy of said records be

      provided to Plaintiff through counsel. Further, while the records do not indicate

      any action was taken to investigate the allegations contained herein, if any such

      actions were taken, a full and complete copy of any report, investigation, findings,

      statements or any other actions taken in the investigative process should be

      immediately ordered to be given to Plaintiff.

31. That the Plaintiff requests an immediate hearing on this issue.

   COUNT THREE -NEGLIGENCE OF ACADIA HEALTHCARE COMPANY, INC


   32. That the Plaintiff re-alleges each and every allegation contained hereinabove in

       paragraphs 1-31.

   33. That Defendant Acadia knew or should have know that it was improper to house

       adolescents in the same rooms without strict supervision, particularly in a

      scenario where a patient had a history of sexual abuse.

   34. That Defendant Acadia failed to have adequate security measures as a necessary

       and normal part of its operation of Habilitation Center, LLC/MillCreek.

   35. That Defendant Acadia failed to provide adequate security.


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36. That Defendant Acadia failed to have regular nursing and/ or security personnel

   walking around the campus and up and down the halls as part of their operating

   procedure.

37. That Defendant Acadia failed to provide sufficient staff to operate their Fordyce

   facility Habilitation Center, LLC.

38. That Defendant Acadia was otherwise negligent which will be proven at trial




  COUNT FOUR - PUNITIVE DAMAGES AGAINST ALL DEFENDANTS


39. That the Plaintiff re-alleges each and every allegation contained in paragraphs 1-

   38 hereinabove.

40. That Defendant Habilitation Center, LLC/MillCreek and ACADIA knew by

   virtue of previous assaults that subsequent sexual assaults were likely without

   some form of protection. Upon information and belief, all Defendants had

   knowledge of previous physical and sexual assaults on their multiple campuses.

   Their failure to take necessary precautions to prevent these attacks, despite their

   previous knowledge of the same and/ or similar attacks, shows a willful and

   wanton disregard for the safety of their patients and a clear choice of prioritizing

   company profit over personal safety.

41. That, despite that knowledge, Habilitation Center/MillCreek and Acadia took no

   actions to protect their patients. Their blatant, intentional, and willful and

   wanton disregard for the safety of T.B .. lends itself to punitive and/ or exemplary

   damages. Punitive and/ or exemplary damages are appropriate here where,

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   despite knowledge, Habilitation Center, LLC/MillCreek and ACADIA took no

   actions for the protection of T.B. Further, these heinous acts occurred while T.B.

   was on "close observation" and on "unit restrictions."

42. That Habilitation Center, LLC and ACADIA should also be liable for punitive

   and/ or exemplary damages for failing to timely notify authorities and T.B.' s

   parents. Upon information and belief, MillCreek and ACADIA did not timely

   report these offenses to the Arkansas Child Abuse Hotline or any other reporting

   agency thereby preventing any external and independent investigation.

   Therefore, the Plaintiffs are left with 4 hand-written lines on the medical records

   evidencing the "investigation" conducted by the Defendants, and each of them.

43. That upon information and belief, the Defendants and each of them failed to

   report this sexual assault to any authorities until they conducted their own

   internal investigation. Failing to report this assault to authorities all but

   eliminated the ability for any independent entity or agency to conduct any type

   of real and independent investigation.




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   WHEREFORE, premises considered, the Plaintiff Shelby Buffington, individually

and on behalf of T.B., prays that the Court award judgment against each Defendant,

jointly and severally in the sum and amount that the proof presented at the trial of this

matter warrants.


                                          Respectfully Submitted
                                          Shelby Buffington, as
                                          Parent and Next of Friend
                                          of T.B. a Minor, Plaintiff




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